Case 2:05-cV-02143-BBD-tmp Document 30 Filed 07/13/05 Page 1 of 3 Page|D 38

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN 'I`ENNESSEE

Host International, Inc.,
Plaintiff

vs. Case No.:05cv2143D/P
AAD:Fitch, Inc. Mechanical
Plumbing Designs, Century
Construction, Inc. and Damon-
Markus
Defcndants
ORDER DENYING DEFAULT JUDGMENT

On July 13, 2005, plaintiff filed a Motion for Default Iudgment against Mechanical
Plumbing Designs.

ln accordance to FRCVP 55(a) , the moving party must request an enty of default by the

clerk.
In compliance to FRCvP 55(a), default judgment against the above-named defendants

in DENIED.

Entered this 13lh day of July, 2005

THOMAS M. GOULD

 

DISTRIT OURT - WESTNER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CV-02143 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

